                          IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
 :::::::::::::::::::::::::::::::::::::::::::::::::::::::::::
 IN RE:                                                    :
                                                           : CHAPTER 11
 QUALITY PERFORATING INC.,                                 :
                                                           :
                            DEBTOR.                        : CASE NO. 5-20-03561-PMM
 :::::::::::::::::::::::::::::::::::::::::::::::::::::::::::

                         DEBTOR’S ANSWER TO THE
                    UNITED STATES TRUSTEE’S MOTION TO
                CONVERT OR DISMISS DEBTOR’S CHAPTER 11 CASE

        Debtor Quality Perforating, Inc., through its undersigned counsel, hereby

 responds to the United States Trustee’s Motion to Dismiss as follows:

        1.     Denied. The averments contained in this paragraph contain conclusions

 of law, to which a response is not required.

        2.     Admitted.

        3.     Admitted.

        4.     Denied. The averments contained in this paragraph contain conclusions

 of law, to which a response is not required. By way of further response, the cited

 statute speaks for itself and any interpretation of it is denied.

        5.     Denied. The averments contained in this paragraph contain conclusions

 of law, to which a response is not required. By way of further response, the cited

 statute speaks for itself and any interpretation of it is denied.

        6.     Denied. Strict proof of the averments are required at the time of trial.

        7.     Denied. The averments contained in this paragraph contain conclusions

 of law, to which a response is not required. By way of further response, the cited statute

 speaks for itself and any interpretation of it is denied.




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        8.      Admitted in part; denied in part. It is admitted that substantially all of the

 Debtor’s assets were sold pursuant to Court Order. All other averments are denied.

 Strict proof of the averments are required at the time of trial. Further, the Debtor has

 been attempting to clarify and correct an issue with respect to the employee’s former

 health care plan and the insurer’s failure to pay post-petition claims.

        9.      Denied. Strict proof of the averments are required at the time of trial.

        10.     Denied. The averments contained in this paragraph contain conclusions

 of law, to which a response is not required. By way of further response, the cited case

 speaks for itself and any interpretation of it is denied. Strict proof of the averments are

 required at the time of trial.

        11.     Denied. The averments contained in this paragraph contain conclusions

 of law, to which a response is not required. By way of further response, the cited

 statute speaks for itself and any interpretation of it is denied.

        12.     Denied. The Debtor filed the MOR for April 2021 on or about June 30,

 2021 at docket# 126. This was an oversight as the May MOR had already been filed

 prior at the time of the fling of the UST’s Motion.

        13.     Denied. The averments contained in this paragraph contain conclusions

 of law, to which a response is not required. By way of further response, the cited case

 speaks for itself and any interpretation of it is denied. Strict proof of the averments are

 required at the time of trial.

        14.     Denied.    All MORs have been filed. The averments contained in this

 paragraph contain conclusions of law, to which a response is not required. Strict proof

 of the averments are required at the time of trial.



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        15.    Denied. The averments contained in this paragraph contain conclusions

 of law, to which a response is not required. By way of further response, the cited case

 speaks for itself and any interpretation of it is denied.

        16.    Denied. Strict proof of the averments are required at the time of trial. By

 way of further response, there has been no allegations from the UST or any creditor of

 any need to appoint a trustee and the creditors, including sophisticated secured

 creditors have not sought for the conversion or dismissal.         Accordingly, the Debtor

 believes that conversion or dismissal is not in the creditors’ best interest.

        WHEREFORE, the Debtor respectfully requests that this Honorable Court enter

 an Order denying the Relief requested by the US Trustee and for such other and further

 relief is just and appropriate.



                                            Respectfully submitted,

                                            CONWAY LAW OFFICES, P. C.

                                            /s/ Mark J. Conway
                                            MARK J. CONWAY (ID #59114)
                                            502 S. Blakely Street
                                            Dunmore, PA 18512
                                            Phone (570) 343-5350
                                            Fax (570) 343-5377

                                            Attorney for Debtor
                                            Quality Perforating, Inc.
 DATED: July 21, 2021




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                                CERTIFICATE OF SERVICE

        I, Amy L. Marta, Paralegal hereby certify that I caused a true and correct copy of

 the foregoing Answer to the United States Trustee’s Motion to Dismiss to be served via

 first class United States mail, postage prepaid and/or via e-mail:


                                United States Trustee’s Office
                                228 Walnut Street, Ste. 1190
                                    Harrisburg, PA 17101
                              ustpregion03.ha.ecf@usdoj.gov


                                             CONWAY LAW OFFICES, P.C.

                                             /s/ Amy L. Marta
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                                             Dunmore, PA 18512
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                                             Fax (570) 343-5377


 DATED: July 21, 2021




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